                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                         THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                   )
                                                    )
STEVE SHICKLES, JR.                                 )        CASE NO. 19-80155-CRJ11
SSN: XXX-XX-4301                                    )
                                                    )        CHAPTER 11
RONDA SHICKLES                                      )
SSN: XXX-XX-0467                                    )
                                                    )
       Debtors.                                     )
                                                    )

                                    REPORT TO COURT

       COMES NOW, Steve Shickles, Jr. and Ronda Shickles as Debtors and Debtors in

Possession (collectively the, “Debtors”), by and through their undersigned attorneys, and hereby

file this Report to Court pursuant to the Court’s Order Approving Motion for Authority to Pay

Storage Fees and Requiring Report to Court [Doc No. 175] dated March 25, 2019 and state as

follows:

       1.        On June 4, 2019, the Debtors sold the 2018 BMW M4 to Auto Collection of

Murfreesboro for the sum of $59,000.00 resulting in net proceeds paid to the estate in the amount

of $34,079.64.

       Respectfully submitted this 14th day of June, 2019.

                                            /s/ Kevin D. Heard
                                            Kevin D. Heard

                                            /s/ Angela S. Ary
                                            Angela S. Ary

                                            Attorneys for Debtors
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of June, 2019, I served a copy of the foregoing on the
parties listed below and on the attached matrix by depositing the same in the United States Mail,
postage prepaid and properly addressed, via electronic mail at the e-mail address below, unless
the party being served is a registered participant in the CM/ECF System for the United States
Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice of
Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s
Administrative Procedures as indicated below:

Notice, via the CM/ECF System, will be electronically mailed to:

Richard M Blythe Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

Clyde Ellis Brazeal, III ebrazeal@joneswalker.com

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kevingray671@gmail.com;ttatum@bradley.com;mpressley@bradley.com

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Notice, via US Mail, will be sent to:
PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541

                                              /s/Kevin D. Heard
                                              Kevin D. Hear




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